                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:98cr298-GCM


CORON R. McCAIN,                          )
                                          )
                        Petitioner,       )
                                          )
                  v.                      )                         ORDER
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                        Respondent.       )
__________________________________________)

       THIS MATTER comes before the court upon the Petitioner’s “Motion to Defer Fine,”

filed with the Court on July 2, 2007.

       The Petitioner, on November 10, 1999, was committed to the custody of the United

States Bureau of Prisons to be imprisoned for 300 (three hundred) months, was assessed a

$100.00 (one hundred) dollar fine, and was ordered to pay restitution of $11,245.66, along with

other co- defendants for whom there is joint and severable liability. As of July 12, 2007,

Petitioner has paid a total of $726.00.

       In his “Motion to Defer Fine,” the Petitioner has failed to provide any evidence of any

change in his ability to pay through the Inmate Financial Responsibility Program. Additionally,

he has failed to provide any legal theory or reason by way of change in circumstances why he

should be allowed to defer his Court ordered fine and restitution until completion of his

imprisonment.




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       NOW, THEREFORE, IT IS HEREBY ORDERED:

That the Petitioner’s “Motion to Defer Fine” is DENIED.



SO ORDERED.



                                             Signed: July 19, 2007




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